                  Case 2:08-cr-00309-JCM-PAL                      Document 153                 Filed 06/01/11         Page 1 of 9
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                 __________ District of                          Nevada
                                                                                      AMENDED
                                                      )
             UNITED STATES OF AMERICA                 )                              JUDGMENT IN A CRIMINAL CASE
                        v.                            )
            MIKAYEL AKOPYAN (True Name)               )
                                                                                     Case Number:           2:08-cr-0309-JCM-PAL
                                                      )
                                                      )                              USM Number:            43610-048
                                                      )
                                                      )                              JONATHAN POWELL
                                                                                     Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        ONE [1] OF THE SUPERSEDING INFORM ATION.

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                              Offense Ended          Count
18 U.S.C.§1343                   W ire Fraud                                                                    6/21/2006             One [1]




       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
x Count(s)      Original Indictment and remaining counts   G is   x are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          MAY 17, 2011
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                          JAMES C. MAHAN, U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                         JUNE,27
                                                                               1, 2011
                                                                          MAY                          , 2011
                                                                          Date
               AMENDED
AO 245B       (Rev. 09/08) Judgment in Criminal Case
                     Case 2:08-cr-00309-JCM-PAL
              Sheet 2 — Imprisonment
                                                                 Document 153             Filed 06/01/11       Page 2 of 9
                                                                                                     Judgment — Page      2       of   6
DEFENDANT:                    MIKAYEL AKOPYAN
CASE NUMBER:                  2:08-CR-0309-JCM-PAL


                                                               IM PRISONM ENT


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


                                (15) MONTHS


    X     The court makes the following recommendations to the Bureau of Prisons:
          SOUTHERN CALIFORNIA AREA




    G     The defendant is remanded to the custody of the United States Marshal.

    G     The defendant shall surrender to the United States Marshal for this district:

          G    at                                 G a.m.       G p.m.           on                                            .

          G    as notified by the United States Marshal.

    X     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          X    before 2 p.m. on       W ednesday, August 17, 2011          .

          G    as notified by the United States Marshal.

          G    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                   , with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                               By
                                                                                                DEPUTY UNITED STATES MARSHAL
              AMENDED
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
                     Case 2:08-cr-00309-JCM-PAL
              Sheet 3 — Supervised Release
                                                                  Document 153             Filed 06/01/11          Page 3 of 9
                                                                                                           Judgment—Page      3     of         6
DEFENDANT:                   MIKAYEL AKOPYAN
CASE NUMBER:                 2:08-CR-0309-JCM-PAL
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                                                      (3) years

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
G        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
           AMENDED
 AO 245B    (Rev. 09/08) Judgment in a Criminal Case
                 Case 2:08-cr-00309-JCM-PAL
            Sheet 4C — Probation
                                                         Document 153          Filed 06/01/11        Page 4 of 9
                                                                                              Judgment—Page    4    of      6
 DEFENDANT:              MIKAYEL AKOPYAN
 CASE NUMBER:            2:08-CR-0309-JCM-PAL

                                    SPECIAL CONDITIONS OF SUPERVISION

1. Possession of W eapons - You shall not possess, have under your control, or have access to any firearm, explosive device,
or other dangerous weapons, as defined by federal, state, or local law.


2. W arrantless Search - You shall submit your person, property, residence, place of business and vehicle under your control
to a search conducted by the United States Probation Officer or any authorized person under the immediate and personal
supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be grounds for revocation;
the defendant shall inform any other occupant that the premises may be subject to a search pursuant to this condition.


3. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.


4. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.


5. Report to Probation Officer After Release From Custody - You shall report in person, to
the probation office in the district in which you are released within 72 hours of discharge from custody.



Note: A written statement of the conditions of release was provided to the Defendant by the
Probation Officer in open court at the time of sentencing.
             AMENDED
AO 245B   (Rev. 09/08) Judgment in a Criminal Case
                 Case 2:08-cr-00309-JCM-PAL
          Sheet 5 — Criminal Monetary Penalties
                                                                Document 153               Filed 06/01/11         Page 5 of 9
                                                                                                    Judgment — Page 5          of   6
DEFENDANT:                      MIKAYEL AKOPYAN
CASE NUMBER:                    2:08-CR-0309-JCM-PAL
                                           CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                      Fine                                  Restitution
TOTALS            $ 100.00                                        $ waived                             $ 106,955.24


G    The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                              Total Loss*                         Restitution Ordered                  Priority or Percentage
Option One Mortgage                               $106,955.24                              $106,955.24
1525 Belt Line Road
Coppell, Texas 75019




TOTALS                            $                 106,955.24           $                    106,955.24


G     Restitution amount ordered pursuant to plea agreement $                    106,955.24
x

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the         G fine    G      restitution.

      G the interest requirement for the       G    fine    G    restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
           AMENDED
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
                  Case 2:08-cr-00309-JCM-PAL
           Sheet 6 — Schedule of Payments
                                                                 Document 153              Filed 06/01/11            Page 6 of 9
                                                                                                            Judgment — Page      6      of          6
DEFENDANT:                 MIKAYEL AKOPYAN
CASE NUMBER:               2:08-CR-0309-JCM-PAL


                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X    Lump sum payment of $ 100.00                       due immediately, balance due

          G     not later than                                    , or
          G     in accordance         G    C,    G    D,     G      E, or     G F below; or
B    G    Payment to begin immediately (may be combined with                G C,       G D, or      G F below); or
C    G    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          Schedule of payments - Any remaining balance shall be paid during the term of supervised release at a rate of no
          less than 10% of gross income, subject to an adjustment by the probation officer based upon the ability to pay.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     "FINAL ORDER OF FORFEITURE ATTACHED"




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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      2:08-cr-00309-JCM-PAL Document
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 UNITED STATES OFAM ERICA,                     )
                                               )
                     Plaintiff,                )
                                               )
        v.                                     )         2:08-CR-309-JCM (PAL)
                                               )
 M IKAYEL AKOPYAN,                             )
                                               )
                     Defendant.                )
                                  O RD ER O F FO RFEIT UR E
        O n January 18, 20 1l, the U nited States subm itted electronically a proposed O rder of

 ForfeiturepursuanttoFed,R.Crim.P.32.2(b)(1)and(2),andsen'
                                                         edcounselforthedefendantwith
 copiesoftheOrder.//110. No objection to the entry oftheOrderofForfeiture wasfiled bythe
 defendant. On Janumy 24,2011,this Courtdenied the Order of Forfeiture.#111. M IKAYEL

 AKOPYAN issubjecttotheforfeitureofacriminalforfeittlremoneyjudgmentof$124,512.81in
 U nited StatesCurrency,
        A ccordingly,this Courtfinds that M IK A YEL A K O PY AN shallpay a crim inalforfeiture

 moneyjudgmentof$124,512.81inUnited StatesCurrency,pursuanttoFed.R.Crim.P.32.2(b)(1)
 and(2$ Title18,UnitedStatesCode,Section98l(a)(l)(C)andTitle28,UnitedStatesCode,Section
 2461(c);Title18,UnitedStatesCode,982(a)(2)(A);andTitlezl,UnitedStatesCode,Section853(p).
'




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     1          THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DEcltEED thattheUnited

     2 Statesrecoverfrom M IKAYEL AKOPYAN acriminalforfeituremoneyjudgmentintheamountof
     3 $124,512.81inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title 18,
     4 UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);Titlel8,
     5 United StatesCode,982(a)( )(A);andTitle21,United StatesCodesSection 853(p).
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    211             1,HeidiSkillin,certifythatthefollowingindividualswereservedwithcopiesoftheOrder
      1
    31 ofForfeitureon April15, 2011,by thebelow identified method ofservice:
    4               Electronic Filing
    5               M ichaelW .Sanft
                    SanftLaw
    6               520 South Fourth Stree
                    Las Vegas,N V 89101
    7               sanRlawgroup@ mac.com
                    Counselforaz
                               lr>'
                                  ltpr?iMatevosyan
     8
                    Jonathan Powell
    9               Patti,Sgros& Lewis
                    720 South Seventh Street,Third Floor
    10              Las Vegas,N V 89101
                    jpowell.law@ gmail,com
    11              CounselforMikayelAkopyan
    12              O svaldo E.Fum o
                    O svaldo E.Fum o,Chtd
    13              1212 Casino CenterBoulevard
                    Las Vegas,N V 89104
    14              ozzie@fumolaw.com
                    CounselforGerganaHristova
    15
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